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   8
   9                            UNITED STATES DISTRICT COURT
  10                       CENTRAL DISTRICT OF CALIFORNIA
  11
  12   ESTATE OF NORMA GUZMAN,              Lead Case No. CV15-07932 JAK (FFMx)
       by and through successor in interest
  13   GLORIA GONZALEZ, individually, Consolidated w/: CV16-03101 JAK(FFMx)
  14               Plaintiff,               Hon. John A. Kronstadt - Crtrm 750
  15         v.                             Hon. Magistrate Judge: Frederick F. Mumm
  16   CITY OF LOS ANGELES; DOE        OFFICER SAMUEL BRIGGS’
       OFFICERS 1 through 5 and DOES 6 ANSWSER TO FIRST AMENDED
  17   through 10, INCLUSIVE and DOES COMPLAINT FOR DAMAGES
       1 through 10,
  18
                   Defendants.
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  20
       AND CONSOLIDATED ACTION.
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                           ANSWER TO FIRST AMENDED COMPLAINT
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   1                   ANSWER TO FIRST AMENDED COMPLAINT
   2         Answering Plaintiffs’ First Amended Complaint for (1) Violation of 42
   3   U.S.C. § 1983 [Excessive Force]; (2) Violation of 42 U.S.C. § 1983 [Municipal
   4   Liability for Unconstitutional Custom, Practice or Policy]; (3) Wrongful
   5   Death/Survival Action [Assault and Battery]; (4) Wrongful Death/Survival Action
   6   [Negligence]; (5) Violation of Ralph Civil Rights Act Civil Code § 51.7; (6)
   7   Violation of Bane Civil Rights Act § 51.2; and (7) Negligent Hiring and
   8   Supervision, Defendant Samuel Briggs admits, denies and alleges as follows:
   9
  10                                   INTRODUCTION
  11         1.     Answering paragraph 1 of the First Amended Complaint, insofar as the
  12   allegations of this paragraph contain legal conclusions, no answer is required. To
  13   the extent an answer is required, Officer Briggs admits that one or more Los
  14   Angeles Police Officers fired at Norma Guzman on September 27, 2015 thereby
  15   killing her. Except as so expressly admitted, Officer Briggs denies each and every
  16   allegation contained in paragraph 1 of the First Amended Complaint.
  17
  18                                    JURISDICTION
  19         2.     Answering paragraph 2 of the First Amended Complaint, insofar as the
  20   allegations of this paragraph contain legal conclusions, no answer is required. To
  21   the extent an answer is required, the City admits that this Court has subject-matter
  22   jurisdiction over this case insofar as this case arises under 42 U.S.C. § 1983 and
  23   supplemental jurisdiction over the state-law claims. Except as so admitted, the City
  24   denies each and every allegation contained in paragraph 2 of the First Amended
  25   Complaint.
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                           ANSWER TO FIRST AMENDED COMPLAINT
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   1                                         PARTIES
   2         3.     Answering paragraph 3 of the First Amended Complaint, insofar as the
   3   allegations of this paragraph contain legal conclusions, no answer is required. To
   4   the extent an answer is required, Officer Briggs is without sufficient knowledge or
   5   information to form a belief as to the truth of the allegations, and on that basis
   6   denies each and every allegation contained therein.
   7         4.     Answering paragraph 4 of the First Amended Complaint, insofar as the
   8   allegations of this paragraph contain legal conclusions, no answer is required. To
   9   the extent an answer is required, Officer Briggs is without sufficient knowledge or
  10   information to form a belief as to the truth of the allegations, and on that basis
  11   denies each and every allegation contained therein.
  12         5.     Answering paragraph 5 of the First Amended Complaint, insofar as the
  13   allegations of this paragraph contain legal conclusions, no answer is required. To
  14   the extent an answer is required, Officer Briggs is without sufficient knowledge or
  15   information to form a belief as to the truth of the allegations, and on that basis
  16   denies each and every allegation contained therein.
  17         6.     Answering paragraph 6 of the First Amended Complaint, insofar as the
  18   allegations of this paragraph contain legal conclusions, no answer is required. To
  19   the extent an answer is required, Officer Briggs admits that he was employed by the
  20   Los Angeles Police Department on September 27, 2015. Except as so expressly
  21   admitted, Officer Briggs denies each and every allegation contained in paragraph 6
  22   of the First Amended Complaint.
  23         7.     Answering paragraph 6 of the First Amended Complaint, insofar as the
  24   allegations of this paragraph contain legal conclusions, no answer is required. To
  25   the extent an answer is required, Officer Briggs admits that Officer McNeely was
  26   employed by the Los Angeles Police Department on September 27, 2015. Except as
  27   so expressly admitted, Officer Briggs denies each and every allegation contained in
  28   paragraph 7 of the First Amended Complaint.
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                            ANSWER TO FIRST AMENDED COMPLAINT
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   1         8.     Answering paragraph 8 of the First Amended Complaint, insofar as the
   2   allegations of this paragraph contain legal conclusions, no answer is required. To
   3   the extent an answer is required, Officer Briggs admits that the City of Los Angeles
   4   is a municipality and the employer of Officer Briggs and Officer McNeely on
   5   September 27, 2015. Except as so expressly admitted, Officer Briggs denies each
   6   and every allegation contained in paragraph 8 of the First Amended Complaint.
   7         9.     Answering paragraph 9 of the First Amended Complaint, Officer
   8   Briggs admits that the Los Angeles Police Department is a department and
   9   subdivision of the City of Los Angeles. Except as so expressly admitted, Officer
  10   Briggs denies each and every allegation contained in paragraph 9 of the First
  11   Amended Complaint.
  12         10.    Answering paragraph 10 of the First Amended Complaint, Officer
  13   Briggs is without sufficient knowledge or information to form a belief as to the
  14   truth of the allegations, and on that basis denies each and every allegation contained
  15   therein.
  16         11.    Answering paragraph 11 of the First Amended Complaint, Officer
  17   Briggs is without sufficient knowledge or information to form a belief as to the
  18   truth of the allegations, and on that basis denies each and every allegation contained
  19   therein.
  20
  21                              FACTUAL ALLEGATIONS
  22         12.    Answering paragraph 12 of the First Amended Complaint, Officer
  23   Briggs is without sufficient knowledge or information to form a belief as to the
  24   truth of the allegations, and on that basis denies each and every allegation contained
  25   therein.
  26         13.    Answering paragraph 13 of the First Amended Complaint, insofar as
  27   the allegations of this paragraph contain legal conclusions, no answer is required.
  28   To the extent an answer is required, Officer Briggs admits that he was employed by
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                           ANSWER TO FIRST AMENDED COMPLAINT
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   1   the Los Angeles Police Department on September 27, 2015. Officer Briggs admits
   2   that LAPD Officers were involved in a confrontation with Norma Guzman resulting
   3   from a 911 call that she was holding a knife and screaming at the owner of a
   4   business located at 2120 South San Pedro Street. Officer Briggs further admits that
   5   at the conclusion of the confrontation, one or more LAPD Officers fired at Norma
   6   Guzman thereby killing her. As to the remaining allegations and except as so
   7   expressly admitted, Officer Briggs denies each and every allegations contained in
   8   paragraph 13.
   9         14.    Answering paragraph 14 of the First Amended Complaint, Officer
  10   Briggs denies that the 911 call was placed anonymously. Officer Briggs admits the
  11   remaining allegations contained in paragraph 14.
  12         15.     Answering paragraph 15 of the First Amended Complaint, Officer
  13   Briggs denies each and every allegation therein.
  14         16.    Answering paragraph 16 of the First Amended Complaint, insofar as
  15   the allegations of this paragraph contain legal conclusions, no answer is required.
  16   To the extent an answer is required, Officer Briggs admits that LAPD Officers were
  17   involved in a confrontation with Norma Guzman resulting from a 911 call that she
  18   was holding a knife and screaming at the owner of a business located at 2120 South
  19   San Pedro Street. Officer Briggs further admits that at the conclusion of the
  20   confrontation, one or more LAPD Officers fired at Norma Guzman thereby killing
  21   her. As to the remaining allegations and except as so expressly admitted, Officer
  22   Briggs denies each and every allegation contained in paragraph 16.
  23         17.    Answering paragraph 17 of the First Amended Complaint, as to the
  24   allegations regarding knowledge held by Officer McNeely, the City, LAPD or DOE
  25   Defendants, Officer Briggs is without sufficient knowledge or information to form
  26   a belief as to the truth of those allegations, and on that basis denies those
  27   allegations. As to Officer Briggs’ knowledge, Officer Briggs denies that decedent
  28   was known, in any way, to Officer Briggs prior to September 27, 2015. As to the
                                                 -5-
                            ANSWER TO FIRST AMENDED COMPLAINT
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   1   remaining allegations, Officer Briggs denies each and every allegation contained in
   2   paragraph 17.
   3         18.    Answering paragraph 18 of the First Amended Complaint, insofar as
   4   the allegations of this paragraph contain legal conclusions, no answer is required.
   5   To the extent an answer is required, Officer Briggs denies each and every allegation
   6   contained in paragraph 18.
   7         19.    Answering paragraph 19 of the First Amended Complaint, insofar as
   8   the allegations of this paragraph contain legal conclusions, no answer is required.
   9   To the extent an answer is required, Officer Briggs denies each and every allegation
  10   contained in paragraph 19.
  11         20.    Answering paragraph 20 of the First Amended Complaint, insofar as
  12   the allegations of this paragraph contain legal conclusions, no answer is required.
  13   To the extent an answer is required, Officer Briggs denies each and every allegation
  14   contained in paragraph 20.
  15         21.    Answering paragraph 21 of the First Amended Complaint, insofar as
  16   the allegations of this paragraph contain legal conclusions, no answer is required.
  17   To the extent an answer is required, Officer Briggs denies each and every allegation
  18   contained in paragraph 21.
  19         22.    Answering paragraph 22 of the First Amended Complaint, insofar as
  20   the allegations of this paragraph contain legal conclusions, no answer is required.
  21   To the extent an answer is required, Officer Briggs denies each and every allegation
  22   contained in paragraph 22.
  23         23.    Answering paragraph 23 of the First Amended Complaint, insofar as
  24   the allegations of this paragraph contain legal conclusions, no answer is required.
  25   To the extent an answer is required, Officer Briggs is without sufficient knowledge
  26   or information to form a belief as to the truth of the allegations, and on that basis
  27   denies each and every allegation contained therein.
  28
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                            ANSWER TO FIRST AMENDED COMPLAINT
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   1         24.    Answering paragraph 24 of the First Amended Complaint, insofar as
   2   the allegations of this paragraph contain legal conclusions, no answer is required.
   3   To the extent an answer is required, as to the allegations regarding persons other
   4   than Officer Briggs, Officer Briggs is without sufficient knowledge or information
   5   to form a belief as to the truth of those allegations, and on that basis denies those
   6   allegations. As to the remaining allegations regarding Officer Briggs, Officer
   7   Briggs denies each and every allegation contained in paragraph 24.
   8         25.    Answering paragraph 25 of the First Amended Complaint, insofar as
   9   the allegations of this paragraph contain legal conclusions, no answer is required.
  10   To the extent an answer is required, as to the allegations regarding persons other
  11   than Officer Briggs, Officer Briggs is without sufficient knowledge or information
  12   to form a belief as to the truth of those allegations, and on that basis denies those
  13   allegations. As to the remaining allegations regarding Officer Briggs, Officer
  14   Briggs denies each and every allegation contained in paragraph 25.
  15
  16                              FIRST CAUSE OF ACTION
  17         26.    Paragraph 26 of the First Amended Complaint merely incorporates by
  18   reference the allegations of previous paragraphs. In answering paragraph 26,
  19   Officer Briggs incorporates its respective admissions and denials to each such
  20   paragraph enumerated above.
  21         27.    Answering paragraph 27 of the First Amended Complaint, insofar as
  22   the allegations of this paragraph contain legal conclusions, no answer is required.
  23   To the extent an answer is required, Officer Briggs is without sufficient knowledge
  24   or information to form a belief as to the truth of the allegations, and on that basis
  25   denies each and every allegation contained therein.
  26         28.    Answering paragraph 28 of the First Amended Complaint, insofar as
  27   the allegations of this paragraph contain legal conclusions, no answer is required.
  28   To the extent an answer is required, as to the allegations regarding persons other
                                                 -7-
                            ANSWER TO FIRST AMENDED COMPLAINT
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   1   than Officer Briggs, Officer Briggs is without sufficient knowledge or information
   2   to form a belief as to the truth of those allegations, and on that basis denies those
   3   allegations. As to the remaining allegations regarding Officer Briggs, Officer
   4   Briggs denies each and every allegation contained in paragraph 28.
   5         29.    Answering paragraph 29 of the First Amended Complaint, insofar as
   6   the allegations of this paragraph contain legal conclusions, no answer is required.
   7   To the extent an answer is required, Officer Briggs admits that LAPD Officers were
   8   involved in a confrontation with Norma Guzman resulting from a 911 call that she
   9   was armed with a knife and screaming on the street. Officer Briggs further admits
  10   that at the conclusion of the confrontation, one or more LAPD Officers fired at
  11   Norma Guzman thereby killing her. As to the remaining allegations and except as
  12   so expressly admitted, Officer Briggs denies each and every allegation contained in
  13   paragraph 29.
  14         30.    Answering paragraph 30 of the First Amended Complaint, insofar as
  15   the allegations of this paragraph contain legal conclusions, no answer is required.
  16   To the extent an answer is required, Officer Briggs admits that LAPD Officers were
  17   involved in a confrontation with Norma Guzman resulting from a 911 call that she
  18   was armed with a knife and screaming on the street. Officer Briggs further admits
  19   that at the conclusion of the confrontation, one or more LAPD Officers fired at
  20   Norma Guzman thereby killing her. As to the remaining allegations and except as
  21   so expressly admitted, Officer Briggs denies each and every allegation contained in
  22   paragraph 30.
  23         31.    Answering paragraph 31 of the First Amended Complaint, insofar as
  24   the allegations of this paragraph contain legal conclusions, no answer is required.
  25   To the extent an answer is required, Officer Briggs denies each and every allegation
  26   contained within paragraph 31.
  27         32.    Answering paragraph 32 of the First Amended Complaint, insofar as
  28   the allegations of this paragraph contain legal conclusions, no answer is required.
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                            ANSWER TO FIRST AMENDED COMPLAINT
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   1   To the extent an answer is required, Officer Briggs denies each and every allegation
   2   contained in paragraph 32.
   3         33.     Answering paragraph 33 of the First Amended Complaint, as to the
   4   allegations regarding knowledge held by Officer McNeely, the City, LAPD or DOE
   5   Defendants, Officer Briggs is without sufficient knowledge or information to form
   6   a belief as to the truth of those allegations, and on that basis denies those
   7   allegations. As to Officer Briggs’ knowledge, Officer Briggs denies that decedent
   8   was known, in any way, to Officer Briggs prior to September 27, 2015. As to the
   9   remaining allegations, Officer Briggs denies each and every allegation contained in
  10   paragraph 33.
  11         34.    Answering paragraph 34 of the First Amended Complaint, insofar as
  12   the allegations of this paragraph contain legal conclusions, no answer is required.
  13   To the extent an answer is required, Officer Briggs denies each and every allegation
  14   contained in paragraph 34.
  15         35.    Answering paragraph 35 of the First Amended Complaint, insofar as
  16   the allegations of this paragraph contain legal conclusions, no answer is required.
  17   To the extent an answer is required, Officer Briggs is without sufficient knowledge
  18   or information to form a belief as to the truth of the allegations, and on that basis
  19   denies each and every allegation contained therein.
  20         36.    Answering paragraph 36 of the First Amended Complaint, insofar as
  21   the allegations of this paragraph contain legal conclusions, no answer is required.
  22   To the extent an answer is required, Officer Briggs is without sufficient knowledge
  23   or information to form a belief as to the truth of the allegations, and on that basis
  24   denies each and every allegation contained therein.
  25         37.    Answering paragraph 37 of the First Amended Complaint, insofar as
  26   the allegations of this paragraph contain legal conclusions, no answer is required.
  27   To the extent an answer is required, Officer Briggs denies each and every allegation
  28   contained in paragraph 37.
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                            ANSWER TO FIRST AMENDED COMPLAINT
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   1         38.    Answering paragraph 38 of the First Amended Complaint, insofar as
   2   the allegations of this paragraph contain legal conclusions, no answer is required.
   3   To the extent an answer is required, Officer Briggs denies each and every allegation
   4   contained in paragraph 38.
   5
   6                             SECOND CAUSE OF ACTION
   7         39.    Paragraph 39 of the First Amended Complaint merely incorporates by
   8   reference the allegations of previous paragraphs. In answering paragraph 39,
   9   Officer Briggs incorporates its respective admissions and denials to each such
  10   paragraph enumerated above.
  11         40.    Answering paragraph 40 of the First Amended Complaint, insofar as
  12   the allegations of this paragraph contain legal conclusions, no answer is required.
  13   To the extent an answer is required, Officer Briggs is without sufficient knowledge
  14   or information to form a belief as to the truth of the allegations and on that basis
  15   denies each and every allegation contained therein.
  16         41.    Answering paragraph 41 of the First Amended Complaint, insofar as
  17   the allegations of this paragraph contain legal conclusions, no answer is required.
  18   To the extent an answer is required, Officer Briggs is without sufficient knowledge
  19   or information to form a belief as to the truth of the allegations and on that basis
  20   denies each and every allegation contained therein.
  21         42.    Answering paragraph 42 of the First Amended Complaint, insofar as
  22   the allegations of this paragraph contain legal conclusions, no answer is required.
  23   To the extent an answer is required, Officer Briggs is without sufficient knowledge
  24   or information to form a belief as to the truth of the allegations and on that basis
  25   denies each and every allegation contained therein.
  26         43.    Answering paragraph 43 of the First Amended Complaint, insofar as
  27   the allegations of this paragraph contain legal conclusions, no answer is required.
  28   To the extent an answer is required, Officer Briggs denies each and every allegation
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                            ANSWER TO FIRST AMENDED COMPLAINT
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   1   contained in paragraph 43 of the First Amended Complaint.
   2         44.    Answering paragraph 44 of the First Amended Complaint, insofar as
   3   the allegations of this paragraph contain legal conclusions, no answer is required.
   4   To the extent an answer is required, Officer Briggs is without sufficient knowledge
   5   or information to form a belief as to the truth of the allegations and on that basis
   6   denies each and every allegation contained therein.
   7         45.    Answering paragraph 45 of the First Amended Complaint, insofar as
   8   the allegations of this paragraph contain legal conclusions, no answer is required.
   9   To the extent an answer is required, Officer Briggs is without sufficient knowledge
  10   or information to form a belief as to the truth of the allegations and on that basis
  11   denies each and every allegation contained therein.
  12         46.    Answering paragraph 46 of the First Amended Complaint, insofar as
  13   the allegations of this paragraph contain legal conclusions, no answer is required.
  14   To the extent an answer is required, Officer Briggs is without sufficient knowledge
  15   or information to form a belief as to the truth of the allegations and on that basis
  16   denies each and every allegation contained therein.
  17         47.    Answering paragraph 47 of the First Amended Complaint, insofar as
  18   the allegations of this paragraph contain legal conclusions, no answer is required.
  19   To the extent an answer is required, Officer Briggs is without sufficient knowledge
  20   or information to form a belief as to the truth of the allegations and on that basis
  21   denies each and every allegation contained therein.
  22         48.    Answering paragraph 48 of the First Amended Complaint, insofar as
  23   the allegations of this paragraph contain legal conclusions, no answer is required.
  24   To the extent an answer is required, Officer Briggs is without sufficient knowledge
  25   or information to form a belief as to the truth of the allegations and on that basis
  26   denies each and every allegation contained therein.
  27         49.    Answering paragraph 49 of the First Amended Complaint, insofar as
  28   the allegations of this paragraph contain legal conclusions, no answer is required.
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                            ANSWER TO FIRST AMENDED COMPLAINT
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   1   To the extent an answer is required, Officer Briggs is without sufficient knowledge
   2   or information to form a belief as to the truth of the allegations and on that basis
   3   denies each and every allegation contained therein.
   4
   5                              THIRD CAUSE OF ACTION
   6         50.    Paragraph 50 of the First Amended Complaint merely incorporates by
   7   reference the allegations of previous paragraphs. In answering paragraph 50,
   8   Officer Briggs incorporates its respective admissions and denials to each such
   9   paragraph enumerated above.
  10         51.    Answering paragraph 51 of the First Amended Complaint, insofar as
  11   the allegations of this paragraph contain legal conclusions, no answer is required.
  12   To the extent an answer is required, Officer Briggs admits that he was employed by
  13   the Los Angeles Police Department on September 27, 2015. Officer Briggs admits
  14   that LAPD Officers were involved in a confrontation with Norma Guzman resulting
  15   from a 911 call that she was holding a knife and screaming at the owner of a
  16   business located at 2120 South San Pedro Street. Officer Briggs further admits that
  17   at the conclusion of the confrontation, one or more LAPD Officers fired at Norma
  18   Guzman thereby killing her. As to the remaining allegations and except as so
  19   expressly admitted, Officer Briggs denies each and every allegations contained in
  20   paragraph 51.
  21         52.    Answering paragraph 52 of the First Amended Complaint, insofar as
  22   the allegations of this paragraph contain legal conclusions, no answer is required.
  23   To the extent an answer is required, Officer Briggs admits that he was employed by
  24   the Los Angeles Police Department on September 27, 2015. Officer Briggs admits
  25   that LAPD Officers were involved in a confrontation with Norma Guzman resulting
  26   from a 911 call that she was holding a knife and screaming at the owner of a
  27   business located at 2120 South San Pedro Street. Officer Briggs further admits that
  28   at the conclusion of the confrontation, one or more LAPD Officers fired at Norma
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   1   Guzman thereby killing her. As to the remaining allegations and except as so
   2   expressly admitted, Officer Briggs denies each and every allegations contained in
   3   paragraph 52.
   4         53.    Answering paragraph 53 of the First Amended Complaint, insofar as
   5   the allegations of this paragraph contain legal conclusions, no answer is required.
   6   To the extent an answer is required, Officer Briggs admits that he was employed by
   7   the Los Angeles Police Department on September 27, 2015. Officer Briggs admits
   8   that LAPD Officers were involved in a confrontation with Norma Guzman resulting
   9   from a 911 call that she was holding a knife and screaming at the owner of a
  10   business located at 2120 South San Pedro Street. Officer Briggs further admits that
  11   at the conclusion of the confrontation, one or more LAPD Officers fired at Norma
  12   Guzman thereby killing her. As to the remaining allegations and except as so
  13   expressly admitted, Officer Briggs denies each and every allegations contained in
  14   paragraph 53.
  15         54.    Answering paragraph 54 of the First Amended Complaint, insofar as
  16   the allegations of this paragraph contain legal conclusions, no answer is required.
  17   To the extent an answer is required, Officer Briggs denies each and every allegation
  18   contained in paragraph 54.
  19         55.    Answering paragraph 55 of the First Amended Complaint, insofar as
  20   the allegations of this paragraph contain legal conclusions, no answer is required.
  21   To the extent an answer is required, Officer Briggs is without sufficient knowledge
  22   or information to form a belief as to the truth of the allegations and on that basis
  23   denies each and every allegation contained therein.
  24         56.    Answering paragraph 56 of the First Amended Complaint, insofar as
  25   the allegations of this paragraph contain legal conclusions, no answer is required.
  26   To the extent an answer is required, Officer Briggs admits that he was employed by
  27   the Los Angeles Police Department on September 27, 2015. Officer Briggs admits
  28   that LAPD Officers were involved in a confrontation with Norma Guzman resulting
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                            ANSWER TO FIRST AMENDED COMPLAINT
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   1   from a 911 call that she was holding a knife and screaming at the owner of a
   2   business located at 2120 South San Pedro Street. Officer Briggs further admits that
   3   at the conclusion of the confrontation, one or more LAPD Officers fired at Norma
   4   Guzman thereby killing her. As to the remaining allegations and except as so
   5   expressly admitted, Officer Briggs denies each and every allegations contained in
   6   paragraph 56.
   7                            FOURTH CAUSE OF ACTION
   8         57.    Paragraph 57 of the First Amended Complaint merely incorporates by
   9   reference the allegations of previous paragraphs. In answering paragraph 57,
  10   Officer Briggs incorporates its respective admissions and denials to each such
  11   paragraph enumerated above.
  12         58.    Answering paragraph 58 of the First Amended Complaint, insofar as
  13   the allegations of this paragraph contain legal conclusions, no answer is required.
  14   To the extent an answer is required, Officer Briggs admits that he was employed by
  15   the Los Angeles Police Department on September 27, 2015. Officer Briggs admits
  16   that LAPD Officers were involved in a confrontation with Norma Guzman resulting
  17   from a 911 call that she was holding a knife and screaming at the owner of a
  18   business located at 2120 South San Pedro Street. Officer Briggs further admits that
  19   at the conclusion of the confrontation, one or more LAPD Officers fired at Norma
  20   Guzman thereby killing her. As to the remaining allegations and except as so
  21   expressly admitted, Officer Briggs denies each and every allegation contained in
  22   paragraph 58.
  23         59.    Answering paragraph 59 of the First Amended Complaint, insofar as
  24   the allegations of this paragraph contain legal conclusions, no answer is required.
  25   To the extent an answer is required, Officer Briggs denies each and every allegation
  26   contained in paragraph 59.
  27         60.    Answering paragraph 60 of the First Amended Complaint, insofar as
  28   the allegations of this paragraph contain legal conclusions, no answer is required.
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                           ANSWER TO FIRST AMENDED COMPLAINT
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   1   To the extent an answer is required, Officer Briggs denies each and every allegation
   2   contained in paragraph 60.
   3         61.    Answering paragraph 61 of the First Amended Complaint, insofar as
   4   the allegations of this paragraph contain legal conclusions, no answer is required.
   5   To the extent an answer is required, Officer Briggs denies each and every allegation
   6   contained in paragraph 61.
   7         62.    Answering paragraph 62 of the First Amended Complaint, insofar as
   8   the allegations of this paragraph contain legal conclusions, no answer is required.
   9   To the extent an answer is required, Officer Briggs denies each and every allegation
  10   contained in paragraph 62.
  11
  12                             FIFTH CAUSE OF ACTION
  13         63.    Paragraph 63 of the First Amended Complaint merely incorporates by
  14   reference the allegations of previous paragraphs. In answering paragraph 63,
  15   Officer Briggs incorporates its respective admissions and denials to each such
  16   paragraph enumerated above.
  17         64.    Answering paragraph 64 of the First Amended Complaint, insofar as
  18   the allegations of this paragraph contain legal conclusions, no answer is required.
  19   To the extent an answer is required, Officer Briggs denies each and every allegation
  20   contained in paragraph 64.
  21         65.    Answering paragraph 65 of the First Amended Complaint, insofar as
  22   the allegations of this paragraph contain legal conclusions, no answer is required.
  23   To the extent an answer is required, Officer Briggs denies each and every allegation
  24   contained in paragraph 65.
  25         66.    Answering paragraph 66 of the First Amended Complaint, insofar as
  26   the allegations of this paragraph contain legal conclusions, no answer is required.
  27   To the extent an answer is required, Officer Briggs denies each and every allegation
  28   contained in paragraph 66.
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   1         67.    Answering paragraph 67 of the First Amended Complaint, insofar as
   2   the allegations of this paragraph contain legal conclusions, no answer is required.
   3   To the extent an answer is required, Officer Briggs denies each and every allegation
   4   contained in paragraph 67.
   5         68.    Answering paragraph 68 of the First Amended Complaint, insofar as
   6   the allegations of this paragraph contain legal conclusions, no answer is required.
   7   To the extent an answer is required, Officer Briggs denies each and every allegation
   8   contained in paragraph 68.
   9
  10                             SIXTH CAUSE OF ACTION
  11         69.    Paragraph 69 of the First Amended Complaint merely incorporates by
  12   reference the allegations of previous paragraphs. In answering paragraph 69,
  13   Officer Briggs incorporates its respective admissions and denials to each such
  14   paragraph enumerated above.
  15         70.    Answering paragraph 70 of the First Amended Complaint, insofar as
  16   the allegations of this paragraph contain legal conclusions, no answer is required.
  17   To the extent an answer is required, Officer Briggs denies each and every allegation
  18   contained in paragraph 70.
  19         71.    Answering paragraph 71 of the First Amended Complaint, insofar as
  20   the allegations of this paragraph contain legal conclusions, no answer is required.
  21   To the extent an answer is required, Officer Briggs denies each and every allegation
  22   contained in paragraph 71.
  23
  24                           SEVENTH CAUSE OF ACTION
  25         72.    Paragraph 72 of the First Amended Complaint merely incorporates by
  26   reference the allegations of previous paragraphs. In answering paragraph 72,
  27   Officer Briggs incorporates its respective admissions and denials to each such
  28   paragraph enumerated above.
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   1         73.    Answering paragraph 73 of the First Amended Complaint, insofar as
   2   the allegations of this paragraph contain legal conclusions, no answer is required.
   3   To the extent an answer is required, Officer Briggs denies each and every allegation
   4   contained in paragraph 73.
   5         74.    Answering paragraph 74 of the First Amended Complaint, insofar as
   6   the allegations of this paragraph contain legal conclusions, no answer is required.
   7   To the extent an answer is required, Officer Briggs is without sufficient knowledge
   8   or information to form a belief as to the truth of the allegations and on that basis
   9   denies each and every allegation contained therein.
  10         75.    Answering paragraph 75 of the First Amended Complaint, insofar as
  11   the allegations of this paragraph contain legal conclusions, no answer is required.
  12   To the extent an answer is required, Officer Briggs is without sufficient knowledge
  13   or information to form a belief as to the truth of the allegations and on that basis
  14   denies each and every allegation contained therein.
  15         76.    Answering paragraph 76 of the First Amended Complaint, insofar as
  16   the allegations of this paragraph contain legal conclusions, no answer is required.
  17   To the extent an answer is required, Officer Briggs is without sufficient knowledge
  18   or information to form a belief as to the truth of the allegations and on that basis
  19   denies each and every allegation contained therein.
  20
  21                              AFFIRMATIVE DEFENSES
  22         In addition to each of the admissions and denials set forth above, Officer
  23   Briggs asserts the following affirmative defenses. The assertion of an affirmative
  24   defense shall not negate, by any means, Plaintiffs’ burden of proof on any element
  25   of their claims.
  26
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   1                           FIRST AFFIRMATIVE DEFENSE
   2                            (Failure to State a Claim for Relief)
   3          Officer Briggs alleges that neither the First Amended Complaint, nor any
   4   claim for relief asserted therein, asserts facts sufficient to constitute a claim against
   5   Officer Briggs.
   6
   7                          SECOND AFFIRMATIVE DEFENSE
   8                                    (Assumption of Risk)
   9          Officer Briggs alleges Norma Guzman voluntarily assumed all risks,
  10   responsibility and liability for the alleged injuries or damages, if any, sustained by
  11   Plaintiffs.
  12
  13                           THIRD AFFIRMATIVE DEFENSE
  14                          (Claims Barred by Govt. Code § 820.2)
  15          Officer Briggs alleges that each and every state law claim for relief contained
  16   in Plaintiffs’ First Amended Complaint is barred by the provisions of Government
  17   Code section 820.2. Specifically, except as otherwise provided by statute, a public
  18   employee is not liable for an injury resulting from his act or omission where the act
  19   or omission was the result of the exercise of the discretion vested in him, whether
  20   or not such discretion be abused.
  21
  22                         FOURTH AFFIRMATIVE DEFENSE
  23                          (Claims Barred by Govt. Code § 820.4)
  24          Officer Briggs alleges that each and every state law claim for relief contained
  25   in Plaintiffs' First Amended Complaint is barred by the provisions of Government
  26   Code section 820.4. Specifically, a public employee is not liable for his act or
  27   omission, exercising due care, in the execution or enforcement of any law.
  28
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   1                           FIFTH AFFIRMATIVE DEFENSE
   2                          (Claims Barred by Govt. Code § 820.8)
   3         Officer Briggs alleges that each and every state law claim for relief contained
   4   in Plaintiffs’ First Amended Complaint is barred by the provisions of Government
   5   Code section 820.8. Specifically, except as otherwise provided by statute, a public
   6   employee is not liable for an injury caused by the act or omission of another person.
   7
   8                           SIXTH AFFIRMATIVE DEFENSE
   9                           (Claims Barred by Govt. Code § 845)
  10         Officer Briggs alleges that each and every state law claim for relief contained
  11   in Plaintiffs’ First Amended Complaint is barred by the provisions of Government
  12   Code section 845. Specifically, neither a public entity nor a public employee is
  13   liable for failure to establish a police department or otherwise to provide police
  14   protection service or, if police protection service is provided, for failure to provide
  15   sufficient police protection service.
  16
  17                        SEVENTH AFFIRMATIVE DEFENSE
  18                          (Claims Barred by Govt. Code § 845.8)
  19         Officer Briggs alleges that each and every state-law claim for relief contained
  20   in Plaintiffs’ First Amended Complaint is barred by the provision of Government
  21   Code section 845.8. Specifically, neither a public entity, nor a public employee is
  22   liable for any injury caused by (1) an escaping or escaped prisoner; (2) an escaping
  23   or escaped arrested person; or (3) a person resisting arrest.
  24
  25                         EIGHTH AFFIRMATIVE DEFENSE
  26                          (Claims Barred by Govt. Code § 845.6)
  27         Officer Briggs alleges that each and every state-law claim for relief contained
  28   in Plaintiffs’ First Amended Complaint is barred by the provision of Government
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   1   Code section 845.6. Specifically, neither a public entity, nor a public employee is
   2   liable for any injury proximately caused by the failure of the employee to furnish or
   3   obtain medical care for a prisoner in his custody
   4
   5                          NINTH AFFIRMATIVE DEFENSE
   6                          (Claims Barred by Govt. Code § 855.6)
   7          Officer Briggs alleges that each and every state-law claim for relief contained
   8   in Plaintiffs’ First Amended Complaint is barred by the provision of Government
   9   Code section 855.6. Specifically, neither a public entity, nor a public employee is
  10   liable for any injury proximately caused by the failure to make a physical or mental
  11   examination, or to make an adequate physical or mental examination, of any person
  12   for the purpose of determining whether such person has a disease or physical or
  13   mental condition that would constitute a hazard to the health or safety of himself or
  14   others.
  15
  16                          TENTH AFFIRMATIVE DEFENSE
  17                          (Claims Barred by Govt. Code § 856.4)
  18          Officer Briggs alleges that each and every state-law claim for relief contained
  19   in Plaintiffs’ First Amended Complaint is barred by the provision of Government
  20   Code section 856.4. Specifically, neither a public entity, nor a public employee is
  21   liable for any injury resulting from the failure to admit a person to a public medical
  22   facility.
  23
  24                       ELEVENTH AFFIRMATIVE DEFENSE
  25                               (Failure to Mitigate Damages)
  26          Officer Briggs alleges that though under a duty to do so, Plaintiffs and/or
  27   Norma Guzman have failed and neglected to mitigate the alleged damages, and
  28   therefore cannot recover against Officer Briggs whether as alleged, or otherwise.
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   1   Officer Briggs alleges that Plaintiffs and/or Norma Guzman failed to exercise a
   2   duty to mitigate and limit the damage claim as to Officer Briggs, which acts and
   3   omissions by Plaintiffs and/or Norma Guzman have estopped Plaintiffs and/or
   4   Norma Guzman from asserting any claim for damages or seeking the relief
   5   requested against Officer Briggs.
   6
   7                       TWELFTH AFFIRMATIVE DEFENSE
   8                                          (Estoppel)
   9         Officer Briggs alleges that each and every claim for relief contained in
  10   Plaintiffs’ First Amended Complaint is barred by the equitable doctrine of estoppel.
  11
  12                     THIRTEENTH AFFIRMATIVE DEFENSE
  13                                       (Unclean Hands)
  14         Officer Briggs alleges that each and every claim for relief contained in
  15   Plaintiffs’ First Amended Complaint is barred by the equitable doctrine of unclean
  16   hands.
  17
  18                     FOURTEENTH AFFIRMATIVE DEFENSE
  19                                       (Lawful Conduct)
  20         Officer Briggs alleges that his conduct was, at all times, reasonable and
  21   lawful under the circumstances.
  22
  23                      FIFTEENTH AFFIRMATIVE DEFENSE
  24                                          (Privilege)
  25         Officer Briggs alleges that his conduct was, at all times, justified and
  26   privileged.
  27
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   1                       SIXTEENTH AFFIRMATIVE DEFENSE
   2                              (Acts or Omissions of Plaintiff)
   3         Officer Briggs alleges that, to the extent Plaintiffs suffered any damages,
   4   which Officer Briggs denies, they were caused solely by the actions or omissions of
   5   Norma Guzman.
   6
   7                     SEVENTEENTH AFFIRMATIVE DEFENSE
   8                              (Legal and/or Proximate Cause)
   9         Officer Briggs alleges that his acts were not the legal and/or proximate cause
  10   of any of the damages alleged by Plaintiffs.
  11
  12                      EIGHTEENTH AFFIRMATIVE DEFENSE
  13                                 (Comparative Negligence)
  14         Officer Briggs alleges that each and every claim for relief stated in Plaintiffs’
  15   First Amended Complaint is barred and/or subject to offset and reduction by virtue
  16   of the comparative negligence of Norma Guzman and/or others persons.
  17
  18                      NINETEENTH AFFIRMATIVE DEFENSE
  19                                      (Apportionment)
  20         Officer Briggs alleges that, if Plaintiffs suffered or sustained any loss or
  21   damage as alleged in the First Amended Complaint, such loss or damage was
  22   proximately caused and contributed to by persons or entities other than Officer
  23   Briggs. The liability of all defendants, named or unnamed, should be apportioned
  24   according to the relative degrees of fault, and the liability of Officer Briggs should
  25   be reduced accordingly.
  26
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   1                      TWENTIETH AFFIRMATIVE DEFENSE
   2                                          (Offset)
   3          Officer Briggs alleges that any amount for which it is held liable and owing
   4   to Plaintiffs is offset by any and all amounts recovered by Plaintiffs from any other
   5   responsible parties, such that City’s liability will be reduced in an amount
   6   corresponding to those amounts recovered by Plaintiffs from such other responsible
   7   parties.
   8
   9                    TWENTY FIRST AFFIRMATIVE DEFENSE
  10                                          (Waiver)
  11          Officer Briggs alleges that Plaintiffs and/or Norma Guzman have engaged in
  12   conduct and activities sufficient to constitute a waiver of any alleged duty, act or
  13   omission of any nature by Officer Briggs, which waiver serves to preclude any
  14   recovery here sought by Plaintiffs.
  15
  16                   TWENTY SECOND AFFIRMATIVE DEFENSE
  17                                 (No Special Relationship)
  18          Officer Briggs allege that there was no special relationship between Officer
  19   Briggs and Norma Guzman. See C.A. v. William S. Hart Union High School Dist.,
  20   53 Cal. 4th 861, 877 (Cal. 2012); see also de Villers v. County of San Diego, 156
  21   Cal. App. 4th 238, 249-50 (2007).
  22
  23                    TWENTY THIRD AFFIRMATIVE DEFENSE
  24                  (Claims Barred Due to Exercise of Reasonable Force)
  25          Officer Briggs alleges that each and every claim for relief contained in
  26   Plaintiffs’ First Amended Complaint is barred because, the force used was
  27   reasonable under the circumstances.
  28
                                                - 23 -
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   1                  TWENTY FOURTH AFFIRMATIVE DEFENSE
   2                               (Probable Cause of Threat)
   3         Officer Briggs alleges that each and every claim for relief contained in
   4   Plaintiffs’ First Amended Complaint is barred because Officer Briggs had probable
   5   cause to believe that Norma Guzman posed a threat of serious physical harm to
   6   Officer Briggs or others.
   7
   8                    TWENTY FIFTH AFFIRMATIVE DEFENSE
   9                               (Avoidable Consequences)
  10         Officer Briggs alleges that the damages asserted by Plaintiffs in the First
  11   Amended Complaint are barred, either in whole or in part, by the doctrine of
  12   avoidable consequences. State Department of Health Services v. Superior Court,
  13   31 Cal.4th 1026, 6 Cal. Rptr. 3d 441 (2003).
  14
  15                    TWENTY SIXTH AFFIRMATIVE DEFENSE
  16            (Claims Barred Due to Reasonable and Probable Cause to Detain)
  17         Officer Briggs alleges that each and every claim for relief contained in
  18   Plaintiffs’ First Amended Complaint is barred because, at all times mentioned in
  19   Plaintiffs’ First Amended Complaint herein, Officer Briggs had reasonable and
  20   probable cause to detain and restrain Norma Guzman.
  21
  22                  TWENTY SEVENTH AFFIRMATIVE DEFENSE
  23                                 (Speculative Damages)
  24         Officer Briggs alleges that Plaintiffs’ claims for damages are barred, either in
  25   whole or in part, because Plaintiffs’ purported damages are remote, speculative
  26   and/or unavailable as a matter of law.
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   1                    TWENTY EIGHTH AFFIRMATIVE DEFENSE
   2                     (Reservation of Additional Affirmative Defenses)
   3         Officer Briggs alleges that he is without sufficient information as to the
   4   nature and scope of Plaintiffs’ claims for relief to be able to be fully assess and set
   5   forth all potentially-applicable affirmative defenses in this matter. Accordingly,
   6   Officer Briggs hereby reserves the right to allege additional affirmative defenses as
   7   further information becomes known.
   8
   9                                 PRAYER FOR RELIEF
  10         WHEREFORE, Officer Briggs prays as follows:
  11         1.      That Plaintiffs take nothing by reason of their First Amended
  12   Complaint, and that judgment be entered in favor of Officer Briggs;
  13         2.      That Officer Briggs be awarded costs of suit and attorney's fees
  14   incurred in defense of this action pursuant to 42 U.S.C. § 1988 and other legal
  15   grounds; and
  16         3.      For such other and further relief as the Court deems just and proper.
  17
  18
  19   Dated:     April 12, 2017                  Respectfully submitted,

  20                                              JONES & MAYER
  21
                                                  By: s/James R. Touchstone
  22                                                JAMES R. TOUCHSTONE
  23                                                DENISE L. ROCAWICH
                                                    Attorneys for Officer Joshua Briggs
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